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gm Case 1:03-cv-01328-.]DT-STA Document 25 Filed 04/19/05

  
 
 
   

 

 

 

    
 
 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNE ,
EASTERN DIVISION %$‘)EA?PR P 2 09
UNITED STATES for the use of
lNLAND SOUTl-{ERN CORPORATION and
lNLAND SOUTHERN CORPORATION,
P]aintit`fs,
V.
MPACT CONSTRUCTION GROUP,
LLC; F]DELITY & DEPOSIT COMPANY
OF MARYLAND,
Defendants.
JOINT MOTION FOR MODIFICATION OF/;£(HEDULING ORDER
e 7 2 and Local Rule 16 ()l(b) and 7 4
the parties have filed a Jo1nt Motion for dification of this Court’s Scheduhng Order
The partles submit this Memorandu n Support of their Motion pursuant to Local Rule
7 9 However the parties have ot had sufficient opportunity 1n wh1ch to schedule and
complete deposltlons in t case. Therefore, Plaintiff and Defendant will :need an
additional 60 days in hich to complete depositions Given the foregoing the parties
submit that good use exists m which to mod1fy this Court’s Schedulmg Oxgdec?to allog 1',__3
I_l'“\
"U L“J
the parties an ditional 60 days m order to take depositions m preparation fo§?n:m § §§
\o 5
W REFORE premises considered Plaintiff and Defendant jointly ~;';Y§t th§
. . . 539-30 ‘~Q l
the Cou modify its scheduling order to provide for the following deadlines: §O'§§' m §§
_ _z - __

a. Deposition deadline is June 29, 2005.

NTED
b. Fi]ing Dispositive motions deadline July 13, 2005. ITA?-Er:l?? GR.A

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U.S. District Judge

 

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c. Final list of witnesses and exhibits deadline for the Plaintiff is July 27,
2005.

cl. Final list of witnesses and exhibits deadline for the Defendant is August
10,2005.

Respectf`ully Submitted,

ESKINS, KING & SEVIER, P.C.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 1:03-CV-01328 was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

